                Case 17-19141-RBR        Doc 5    Filed 07/22/17         Page 1 of 1



                                                 UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

IN RE:                                           CASE NO. 17-19141-BKC-RBR
                                                 CHAPTER 13
RALPH LEVI SANDERS, JR.
__________________________/

              DEBTOR’S MOTION FOR CONTINUANCE OF AUTOMATIC STAY

         COMES NOW the Debtor, RALPH LEVI SANDERS, JR., by and through his undersigned
attorney, files this Motion for Continuance of the Automatic Stay, and in support thereof states:
         1. This Court has jurisdiction over this matter pursuant 28 U.S.C. Sections 1334(b),
157(a), and 362(d) of Title 11, United States Code. Furthermore, this is a core proceeding
pursuant 28 USC Section 157(b)(2)(G).
         2. The Debtor has a pending Chapter 13 Bankruptcy in the Southern District of Florida.
         3. The Debtor had one prior case within the preceding one-year period.
         4. Pursuant to 11 U.S.C. 362 (3) (B) & (C), the Debtor seeks to continue and extend the
automatic stay beyond the initial thirty-day period.
         5. The Debtor now has additional income and wishes to attempt to save his homestead
property through a bankruptcy.
         6. The Debtor believes these circumstances make this second filing appropriate at this
time.
         WHEREFORE, the Debtor requests this Court enter an Order Continuing the Automatic
Stay through completion of the Chapter 13 Plan, and to extend to all creditors.
Dated: July 22, 2017.                            LAW OFFICES OF MICHAEL H. JOHNSON
                                                 Attorneys for Debtor(s)
                                                 3601 W. Commercial Blvd, Ste 31
                                                 Ft. Lauderdale, FL 33309
                                                 (954) 535-1131

                                                 By:_/s/ Michael H. Johnson_____
                                                    Michael H. Johnson
                                                    Florida Bar No. 0149543

                                                       I HEREBY CERTIFY THAT I AM ADMITTED TO THE BAR OF
                                                       THE UNITED STATES DISTRICT COURT FOR THE
                                                       SOUTHERN DISTRICT OF FLORIDA AND I AM IN
                                                       COMPLIANCE WITH THE ADDITIONAL QUALIFICATIONS
                                                       TO PRACTICE IN THIS COURT SET FORTH IN LOCAL
                                                       RULE 2090-1(A).
